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             EXHIBIT F
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(19) United States
(12) Patent Application Publication (10) Pub. No.: US 2016/0110819 Al
       Abramowitz                                                            (43)    Pub. Date:                  Apr. 21, 2016

(54)   DYNAMIC SECURITY RATING FOR CYBER                              (52)    U.S. Cl.
       INSURANCE PRODUCTS                                                     CPC                GO6Q 40/08 (2013.01); HO4L 63/1433
                                                                                                   (2013.01); HO4L 63/1425 (2013.01)
(71)   Applicant: Marc Lauren Abramowitz, Palo Alto,
                  CA (US)
                                                                      (57)                            ABSTRACT
(72)   Inventor:    Marc Lauren Abramowitz, Palo Alto,
                                                                      In one or more embodiments, the technology determines one
                    CA (US)
                                                                      or more cyber insurance policies and/or products based on a
(21)   Appl. No.: 14/918,398                                          company's real-time exposure to a cyber attack on one or
                                                                      more of its computing asset's. The technology performs vari-
(22)   Filed:       Oct. 20, 2015                                     ous security analysis techniques to explore, locate, and evalu-
                                                                      ate a company's network/assets for creating risk and damage
                Related U.S. Application Data                         assessments that are used for dynamically determining a
(60)   Provisional application No. 62/066,716, filed on Oct.          cyber insurance that is tailored to that company at that
       21, 2014.                                                      moment of time and, optionally, based on future projections.
                                                                      The technology can continuously or semi-continuously
                   Publication Classification                         monitor the company's network for any changes and, upon
                                                                      detection of changes that could affect the company's expo-
(51)   Int. Cl.                                                       sure to a cyber attack, provides information associated with
       GO6Q 40/08              (2006.01)                              the detected changes as feedback to allow determination of
       HO4L 29/06              (2006.01)                              new/modified cyber insurance policies/products.




                                           110                                                   112



                               Network                                              Wireless
                              Connection                                           Transceiver

                                                                                        r



                                                                             101
                                                     Process°




   100                                                  Data
                            Input                                                           Display                  Output
                                                      Storage
                           Device                                                           Device                   Device
                                                      Device



                                                                                                  106
                                    102                         104                                                           108
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                                                                                           PatentApplicationPublication
                         110                                      112



             Network                                 Wireless
            Connection                              Transceiver

                                                         E
                                                         1


                                                1




                                                                                          '.idy
                               Processor




                                                                                                of JoI Jaaus 9 Toz 'a
                                                                                     r-
100                              Data
           Input                                             Display        Output
                                Storage                                     Device
          Device                                             Device
                                Device



                                                                       06
                   102                    104




                                                                                           IV6180110/910ZSR
                                      FIG. I
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                                                                                             PatentApplicationPublication
202

                                                           206
204




                                        Public
                                      Computer
                                       Network




                                                                                            OIJoZ WIN 910Z`IZ*AdV
                                    (e.g., Internet)
                                                                                     208
                                                                 Server Computer


                                                                                    — 212
                                                                  Server Engine J

                                                                                     214
                                          210
                                                                 Security Mgmt.
           200 54"
                                                                                     216
                                                                  Content Mg mt.
                                                Database
                                                                                     218




                                                                                            TV6180110/910ZSR
                                                                 Database Mgr:A.



                                  FIG. 2
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                                                                                                                      PatentApplicationPublication
                        Asset Risk Profile 302



Ris kIn d icators 306
                        Q Asset A: 304a
                        Q
                           • Location (Public-Internet/Private-LAN/DMZ)
                           • Operating Sys (version, etc.)
                           • Known vulnerabilities (existing exploits)
                           • Future vulnerabilities (likelihood based on historical analysis-window 75% than Linux
                           • etc.
                           • Risk Assessment 308


                         0 Asset B 304b




                                                                                                                     OIJo£ taaliS910Z`1Z 'AV
                           .• •

                         0Asset n 304n                                                         FIG. 3A

                          Asset Damage Profile 312

             e 0 Asset A 304a
                             • Data stored (credit card vs. webpages)
                             . Hardware (failovers operational?)
                             • Down time
                             . Reputation (and other intangibles)
                             • etc.
                             • Damage Assessment




                                                                                                                     IV61801 10/910ZSfl
          o
                          C) Asset 83040
                               •   41   •
                                                                                                FIG. 3B
                          O Asset n 304n
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                                                                                              oncatiubliPoncatippliAentatP
        Company Risk Profile(s) 322


(I)   0 Company A: 324a
c\I
        O Capital Investment (how much do they want to spend?)
(i)     • Risk tolerance (low, med, high—it's a subject based on customer)




                                                                                                              ot Jo r laallS9102`IZ*AdV
        • # of assets
        • # of security measures (do they have a NOC/security tea /Disaster Recovery Plan?)
        • # of employees (could be an internal attack)
        • Public vs. Private Co. (are they high profile)
        • Line of business (Big Co. vs. Small Co.)
        e History of Attacks
        • etc.
        • Company Risk Assessment 328

        0 Company B: 324b
               8   8   0




                                                                                                        TV6180110/910ZSR
        C) Company n:      324c
                                                                        FIG. 3C
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                                                                                                  PatentApplicationPublication
                                Recommendation Engine      400


                                                            Other(s)          Recommendation




                                                                                                        OIJoS laallS9102`IZ*AdV
  Asset              Asset                                  -Component(s)     Component (e.g.,
                                         Company
   Risk             Damage                                  -Profile(s)          Policy A —
            +                             Profile      +                    =
  Profile            Profile                                -Algorithm(s)      Product .1 and
                                        Component
Component          Component                                -Analysis            Product 2)
                                                            -Feed08 ck
   402                 404                  406                  4                  410




                                        FIG. 4




                                                                                                 TV6180110/910ZSR
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                                                                   500
                                    Start
                                    502



                          Determine Asset Risk
                               Profile(s)
                                  504




                         Determine Asset Damage
                                Profile(s)
                                   505




                           Determine Customer
                                Profile(s)
                                   508




                             Determine other
                           profile(s), indicators,
                             algorithms, etc.




                                 Recommend
                                  Product(s)
                                     512




                            Change to profile?




                                                              FIG. 5
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                                                                         600




              Customer



                                 601 Customer profile


                                  Asset profile

                                    605 Pre iunl

                                        07 report damage


                                 609 Damage compensati




                                     611 reventive information


                                            613 feedback to preventive
                                                   information




                                          FIG. 6
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             Receive, at a processor that is implemented at least
              in-part by electronic circuitry and coupled to a
            computer network, real-time data indicative of cyber
              attacks that are likely to diminish a value of the
                              product or service
                                      702




              Process the real-time data to compute a real-time
              damage assessment associated with losses to the
            product or service due to occurrence of one or more
              cyber attacks, the damage assessment computed
             using at least a likelihood of occurrence of the one
            or more cyber attacks, a likelihood of success of the
            one or more cyber attacks, and a measure of severity
            of damage to the product of service as a result of the
                occurrence of the one or more cyber attacks
                                      704
                                     MEW




             Determine an insurability rating for the product or
            service that is usable for determination of an amount
               of insurance that sufficiently insures against the
                 occurrence of the one or more cyber attacks,
            wherein the insurability rating is determined at least
              in-part based on the real-time damage assessment
               and is changeable in response to changes in the
                            received real-time data
                                      706




                                  FIG. 7
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                                          Device
                                           800
             Input                                               Output
              Port                                                Port
              802             Damage Assessment                   804
                            Computation Component
                                     806




                          Insurability Rating
                             Computation
                             Component
                                 808




                                         FIG. 8
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                                 Device
                                  900



                             Memory
                              902




                             Processor
                                904




                          Communication
                              906
                                                           Communication
                                                              Link
                                                               908




                                          FIG. 9
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    DYNAMIC SECURITY RATING FOR CYBER                                  associated premiums do not adequately correspond to the
          INSURANCE PRODUCTS                                           level of risk that is associated with a computer asset.

           CROSS REFERENCE TO RELATED                                         SUMMARY OF CERTAIN EMBODIMENTS
                  APPLICATIONS
                                                                       [0006] The disclosed technology relates to determination
[0001] This patent application claims priority to U.S. Pro-            one or more cyber insurance policies, products and/or ratings
visional Application No. 62/066,716, filed Oct. 21, 2014. The          based on processing of real-time information related to cyber
entire content of the before-mentioned provisional patent              attacks on one or more of computing assets that are coupled to
application is incorporated by reference as part of the disclo-        a computer network.
sure of this application.                                              [0007] One aspect of the technology relates to a method for
                                                                       producing insurability ratings for a product or service. The
                    TECHNICAL FIELD                                    method includes receiving, at a processor that is implemented
                                                                       at least in-part by electronic circuitry and coupled to a com-
[0002] The present disclosure relates generally to systems,
                                                                       puter network, real-time data indicative of cyber attacks that
apparatuses, and methods and computer program that are
                                                                       are likely to diminish a value of the product or service. The
stored on non-transitory storage media (collectively referred
                                                                       method further includes using the processor to process the
to as the "technology") related to determining a company's
                                                                       real-time data to compute a real-time damage assessment
vulnerability to a cyber security-related attack ("cyber
                                                                       associated with losses to the product or service due to occur-
attack") and, based on the level of vulnerability, determining
                                                                       rence of one or more cyber-attacks. The damage assessment is
tailored cyber insurance policies and/or products to insure
                                                                       computed using at least a likelihood of occurrence of the one
against the cyber attack.
                                                                       or more cyber attacks, a likelihood of success of the one or
                                                                       more cyber attacks, and a measure of severity of damage to
                      BACKGROUND
                                                                       the product of service as a result of the occurrence of the one
[0003] This section is intended to provide a background or             or more cyber attacks. The above noted method also includes
context to the disclosed embodiments that are recited in the           using the processor to determine an insurability rating for the
claims. The description herein may include concepts that               product or service that is usable for determination of an
could be pursued, but are not necessarily ones that have been          amount of insurance that sufficiently insures against the
previously conceived or pursued. Therefore, unless otherwise           occurrence of the one or more cyber attacks. The insurability
indicated herein, what is described in this section is not prior       rating is determined at least in-part based on the real-time
art to the description and claims in this application and is not       damage assessment and is changeable in response to changes
admitted to be prior art by inclusion in this section.                 in the received real-time data.
[0004] Insurance is a form of risk management tool prima-              [0008] In one exemplary embodiment, the method further
rily used by individuals, businesses, and other organizations          includes using the insurability rating to produce an insurance
to hedge against the risk of a contingent, uncertain loss that         premium value for the product or service. In another exem-
they can't or don't want to bear alone. An insured, or policy-         plary embodiment, the real-time damage assessment is com-
holder, can buy an insurance policy from an insurer, or insur-         puted on an on-going basis based on changes in the real-time
ance carrier, for an amount of money, called the premium, for          data with a time granularity of 1 micro second or less. In yet
a certain amount of insurance coverage specified by an insur-          another exemplary embodiment, the insurability rating is pro-
ance policy. Traditionally, insurance policies available to            duced at least in-part by processing the real-time damage
cover losses from business may be classified as: (1) business          assessment over a pre-determined time interval and determin-
personal insurance policies to cover first-party losses; (2)           ing a statistical value associated with a plurality of insurabil-
business interruption policies; (3) commercial general liabil-         ity rating values over the pre-determined time interval. In
ity or umbrella liability insurance policies, to cover liability       some embodiments, the statistical value is an average of the
for damages to third parties; and (4) errors and omissions             plurality of insurability rating values over the pre-determined
insurance to cover the company's officers. These traditional           time interval. In some exemplary embodiments, the statistical
insurance policies were designed to cover the traditional per-         value is a weighted average of the plurality of insurability
ils of fires, floods, and other forces of nature.                      rating values over the pre-determined time interval, and insur-
[0005] In the last half a century, computers have become an            ability rating values that correspond to later time instances
integrated part of life for any individuals and organizations.         within the predetermined time interval are assigned a larger
As organizations become more dependent on their networked              weight compared to insurability rating values that correspond
computer assets, they become more vulnerable to harm from              to earlier time instances within the predetermined time inter-
increasing frequent and damaging attacks made possible by              val. In some example embodiments, the pre-determined time
computers. Since traditional insurance policies are normally           interval is one of: one hour, one day, one week or one month.
written before the advent of the Internet, they do not expressly       [0009] According to one exemplary embodiment, the
cover new computer related risks. Cyber insurance is a spe-            above noted method further includes determining at least one
cialty insurance product that covers losses associated with a          additional insurability rating based on the real-time data,
company's information assets including computer generated,             where one of the insurability rating or the additional insur-
stored, and processed information. Cyber insurance may                 ability rating corresponds to a short-term insurability rating,
become part of the overall solution to computer network and            and the other of the insurability rating or the additional insur-
system security, which becomes more and more important                 ability rating corresponds to a long-term insurability rating.
due to the increasing number of virus attacks, hacker assaults,        In some exemplary embodiments, the short-term insurability
and other IT security incidents. However, due to the ever-             rating corresponds to a time period that is in the range of one
changing nature of cyber security and cyber vulnerabilities,           hour to one day, and the long-term insurability rating corre-
traditional insurance or even cyber insurance policies and             sponds to a time period that is greater than one day and up to
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one month. In still another exemplary embodiment, the real-             severity of damage to the product of service as a result of the
time damage assessment is computed using a weighted aver-               occurrence of the one or more cyber attacks. The computer
age technique that assigns a first weight to the likelihood of          program product further includes program code for determin-
occurrence of the one or more cyber attacks, a second weight            ing by the processor an insurability rating for the product or
to the likelihood of success of the one or more cyber attacks,          service that is usable for determination of an amount of insur-
and a third weight to the measure of severity of damage to the          ance that sufficiently insures against the occurrence of the one
product of service. In yet another exemplary embodiment,                or more cyber attacks, where the insurability rating is deter-
each of the likelihood of occurrence of the one or more cyber           mined at least in-part based on the real-time damage assess-
attacks, the likelihood of success of the one or more cyber             ment and is changeable in response to changes in the received
attacks, and the measure of severity of damage to the product           real-time data.
of service is determined using historical information associ-           [0013] Another aspect of the technology relates to a device
ated with previously launched cyber attacks against the prod-           that includes a processor implemented using electronic cir-
ucts or the service. For example, the historical information            cuitry, and a memory comprising processor executable code.
can include one or more of: a number of previous cyber                  The processor executable code, when executed by the proces-
attacks against the product or service, a rate of success of            sor, causes the device or the components of the device to
previous cyber attacks against the product or service, an               receive real-time data indicative of cyber attacks that are
amount of damage to the service or product caused by a                  likely to diminish a value of the product or service, and
previous cyber attack, or a frequency of occurrence of cyber            process the real-time data to compute a real-time damage
attacks against other entities that offer products or services          assessment associated with losses to the product or service
that are similar to the product and service.                            due to occurrence of one or more cyber-attacks. The damage
[0010] In one exemplary embodiment, the likelihood of                   assessment is computed using at least a likelihood of occur-
occurrence of the one or more cyber attacks is produced by              rence of the one or more cyber attacks, a likelihood of success
analyzing data associated with patterns of cyber activity over          of the one or more cyber attacks, and a measure of severity of
a plurality of data networks in real-time. In some embodi-              damage to the product of service as a result of the occurrence
ments, the patterns of cyber activity are indicative of cyber           of the one or more cyber attacks. The processor executable
attacks on other organizations with network connectivity. In            code, when executed by the processor, further causes the
another exemplary embodiment, the insurability rating is                device or the components of the device to determine an insur-
determined using an inverse proportionality relationship with           ability rating for the product or service that is usable for
respect to the real-time damage assessment. In yet another              determination of an amount of insurance that sufficiently
exemplary embodiment, the insurability rating is determined             insures against the occurrence of the one or more cyber
based in-part on existing cybersecurity countermeasures that            attacks, where the insurability rating is determined at least
are deployed to protect computers, networks or storage units            in-part based on the real-time damage assessment and is
that participate in storage, production or distribution of the          changeable in response to changes in the received real-time
product or service. In some embodiments, the insurability               data.
rating is modified based on changes in the cybersecurity                [0014] Another aspect of the technology relates to a system
countermeasures deployed to protect computers, networks or              for determining insurability rating of a service or product that
storage units that participate in storage, production or distri-        includes a server device coupled to a computer network to
bution of the product or service.                                       receive real-time data indicative of cyber attacks that are
[0011] In another exemplary embodiment, the above noted                 likely to diminish a value of the product or service and to
method further includes providing one or more of the follow-            produce an insurance premium estimate based at least in-part
ing to an entity that is interested in obtaining or maintaining         on the received real-time data. The system also includes a
insurance coverage for the product or service: (a) information          client device coupled the computer network to receive the
regarding the real-time damage, (b) information regarding the           insurance premium estimate produced by the server device.
likelihood of occurrence of the one or more cyber attacks, (c)          The server device uses the real-time data to compute a real-
information regarding the likelihood of success of the one or           time damage assessment associated with losses to the product
more cyber attacks, (d) information regarding the measure of            or service due to occurrence of one or more cyber-attacks,
severity of damage to the product of service as a result of the         where the damage assessment is computed using at least a
occurrence of the one or more cyber attacks, (e) a recommen-            likelihood of occurrence of the one or more cyber attacks, a
dation for obtaining additional cybersecurity countermea-               likelihood of success of the one or more cyber attacks, and a
sures, or (f) a particular cybersecurity countermeasure.                measure of severity of damage to the product of service as a
[0012] Another aspect of the technology relates to a com-               result of the occurrence of the one or more cyber attacks. The
puter program product, embodied on one or more non-tran-                sever device determines an insurability rating for the product
sitory computer media, that includes program code for receiv-           or service that is usable for determination of an amount of
ing real-time data from a computer network at a processor that          insurance that sufficiently insures against the occurrence of
is implemented at least in-part by electronic circuitry, where          the one or more cyber attacks, where the insurability rating is
the real-time data is indicative of cyber attacks that are likely       determined at least in-part based on the real-time damage
to diminish a value of the product or service. The computer             assessment and is changeable in response to changes in the
program product further includes program code for process-              received real-time data.
ing by the processor the real-time data to compute real-time
damage assessment associated with losses to the product or                    BRIEF DESCRIPTION OF THE DRAWINGS
service due to occurrence of one or more cyber-attacks, where
the damage assessment is computed using at least a likelihood           [0015] FIG. 1. is a block diagram of a basic and suitable
of occurrence of the one or more cyber attacks, a likelihood of         computer that may employ aspects of the described technol-
success of the one or more cyber attacks, and a measure of              ogy.
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[0016] FIG. 2. is a block diagram illustrating a simple, yet            amount for paying out on a claim. In particular, higher
suitable system in which aspects of the described technology            deductibles can be imposed for companies with greater cyber
may operate in a networked computer environment.                        security risks, such as those companies with consistently
[0017] FIG. 3A illustrates an exemplary asset risk profile              lower investment in cyber security, with poor security con-
that may employ aspects of the described technology.                    trols or with inadequate IT staff, among other factors. From a
[0018] FIG. 3B illustrates an exemplary asset damage pro-               risk management point of view, it is important for a company
file that may employ aspects of the described technology.               to understand that deductibles affect the premiums. A lower
[0019] FIG. 3C illustrates an exemplary company risk pro-               deductible can lead to a higher premium, and vice versa.
file that may employ aspects of the described technology.               [0030] Premiums can vary according to specific situation
[0020] FIG. 4 illustrates a block diagram of an exemplary               and the amount of coverage, and can range from a few thou-
device that can be implemented as part of the disclosed                 sand dollars for base coverage for small businesses to several
devices and systems.                                                    hundred thousand dollars for major corporations with com-
[0021] FIG. 5 illustrates a flow diagram for determining                prehensive coverage. Premiums may depend on the indi-
cyber insurance based on various profiles in accordance with            vidual company's security risk exposure and can vary sub-
an exemplary embodiment.                                                stantially depending on the insurance provider. For example,
[0022] FIG. 6 illustrates a flow diagram of communications              the premiums may depend on the number of computers
between a customer and an insurance company in accordance               affected, company level dollar loss distribution, and the tim-
with an exemplary embodiment.                                           ing of the breach event. Premiums may also depend on the
[0023] FIG. 7 illustrates a set of operations that can be               industry the company is operating in. For example, a com-
carried out to determine an insurability rating for a product or        pany operating in the high-tech area may rely on computers
a service in accordance with an exemplary embodiment.                   more with more exposure to computer risks, which leads to a
[0024] FIG. 8 illustrates some of the components of a                   higher premium. A premium may further depend on the ele-
device 1000 that can operate to produce an insurability rating          ments of the insurance contract, such as the settlement
in accordance with an exemplary embodiment                              amount that is paid, the occurrence of the event covered by the
[0025] FIG. 9 illustrates a block diagram of a device that              contract, and the time when the settlement is paid.
can be implemented as part of the disclosed devices and                 [0031] Before issuing a cyber insurance policy, an insur-
systems.                                                                ance carrier may require audits by independent IT security
                                                                        consultants on a case-by case basis, depending on the risks to
                DETAILED DESCRIPTION                                    be covered and the policy limits sought. To this end, a cyber
[0026] In the following description, for purposes of expla-             insurance underwriter may first ask prospective clients to
nation and not limitation, details and descriptions are set forth       complete an information security assessment that covers
in order to provide a thorough understanding of the disclosed           items such as: standard configurations with security docu-
embodiments. However, it will be apparent to those skilled in           mentation for firewalls, routers, and operating systems, infor-
the art that the present invention may be practiced in other            mation security policies, including password management,
embodiments that depart from these details and descriptions.            virus protection, encryption, and security training for
Additionally, in the subject description, the word "exem-               employees, vulnerability monitoring and patch management,
plary" is used to mean serving as an example, instance, or              physical security and access controls, including remote
illustration. Any embodiment or design described herein as              access, privacy and confidentiality policies, backup and res-
"exemplary" is not necessarily to be construed as preferred or          toration provisions, business continuity planning, periodic
advantageous over other embodiments or designs. Rather, use             testing of security controls, and outsourcing and other third-
of the word exemplary is intended to present concepts in a              party security provisions.
concrete manner.                                                        [0032] Various parties of the cyber insurance industry, such
[0027] Cyber insurance can, in principle, be an important               as underwriters, agents, and clients, code writers, inspectors,
risk-management tool for strengthening IT security and reli-            and vendors of products and services, may interact using
ability for companies. There may be many parties involved in            modern insurance information systems. An insurance infor-
the cyber insurance industry including underwriters, agents,            mation system may need wide functionality, including both
and clients, code writers, inspectors, and vendors of products          traditional tasks of information systems like data processing
and services, working together to provide the needed cover-             and storing and more advanced functions that has been tradi-
age for the policy holders.                                             tionally done by humans such as risk evaluation.
[0028] In some cases, specialized policies can cover losses             [0033] These tasks, while may have been sufficiently car-
from computer viruses or other malicious code, destruction or           ried out for traditional insurance policies, suffer from major
theft of data, business interruption, denial of service, and/or         drawbacks in the realm of cyber insurance due to proliferation
liability resulting from e-commerce or other networked IT               of online cyber attacks that can simultaneously and quickly
failures. In some other cases, insurance policies for cyber             breach many computer systems, databases and networks and
insurance may cover the cost of legal disputes arising from             result in loss of data, compromise of financial, medical or
cyber attacks on the insurance policy holder's digital assets.          military secrets or assets. Therefore, there is an urgent need to
In still other cases, cyber insurance policies may specifically         continuously monitor and predict cyber space activities and
exclude certain coverages such as to exclude coverage of                relate those activities to risks to an insured (or insurable)
"electronic data," "computer code," and other similar terms as          product or service. Using such a real-time insurance assess-
tangible property.                                                      ment system benefits both the insured and the insurer by
[0029] For an insurance policy, the deductible may play an              allowing a more accurate and realistic risk assessment to take
important role in managing cyber security risk. For example,            place, as well as enabling the insurer to quickly alert the
the deducible amount may be a way of lowering the insurance             insured of impending attacks or existing security vulnerabili-
company's risk since a higher deductible can reduce the                 ties. Further, such a system can be used to create offers for
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clients and make insurance deals online, to process insurance          dynamically determine new damage values and, in response,
cases automatically and to automate many other tasks.                  corresponding new recommendations for insurance cover-
[0034] In various embodiments, the technology determines               age.
one or more cyber insurance policies and/or products based
                                                                       [0037] In some embodiments, the technology is a computer
on a company's real-time exposure to a cyber attack on one or
                                                                       program product or service, a device or a system configured
more of its computing assets (e.g., a computer serving com-
                                                                       with program code for receiving real-time data indicative of
pany data). The technology performs various security analy-
sis techniques to explore, locate, and evaluate a company's            cyber attacks that are likely to diminish a value of the product
assets for creating risk and damage assessments that are used          or service. For example, the technology can leverage various
to dynamically determine cyber insurance policies/products             databases, websites, the darknet, bit torrents, and/or other
that are tailored to that company at that moment of time and,          networks and data sources for determining known exploits
optionally, based on future projections. The technology can            and/or generate new or modify versions of known exploits.
continuously or semi-continuously monitor the company's                The program code is configured to process real-time data to
network for any changes to assets and, if changes are detected         compute a real-time damage assessment associated with
that could affect the company's exposure to a cyber attack,            losses for an occurrence of one or more cyber attacks. For
information associated with the detected changes is fed back           example, the damage assessment can be computed using a
to aspects of the technology that are configured to determine          likelihood of the occurrence of the one or more cyber attacks,
new/modified cyber insurance policies/products.                        a likelihood of success of the one or more cyber attacks, and
[0035] In various embodiments, the technology identifies               a measure of severity of damage to the product or service as a
computing assets' (e.g., computers, servers, mobile devices,           result of the occurrence of the one or more cyber attacks. The
databases, storage technology, cloud infrastructure, network           program code, in various embodiments, is configured with
appliances, intrusion detection systems (IDSs), firewalls,             technology that determines an insurability rating for the prod-
etc.) vulnerabilities that may be used in a cyber attack for           uct or service for insuring against the cyber attacks. The
exploiting resources (e.g., consumer data, such as credit card         insurability rating is usable for determination of an amount of
numbers) stored in or accessible to a company's network(s).            insurance that sufficiently insures against the occurrence of
Vulnerabilities are identified using various network security          the one or more cyber attacks, at least in-part based on the
audit standards and technologies, such as the Payment Card             real-time damage indicator and is changeable in response to
Industry Data Security Standard (PCI DSS), other standard(s)           changes in the received real-time data.
and/or one or more penetration tests for analyzing assets for          [0038] In various embodiments, the technology determines
various vulnerabilities that may be exploited via internal and/        asset risk assessments, asset damage assessments, and cus-
or external cyber attacks. Security audits, in some embodi-            tomer risk assessments. Assessments are snapshots of real-
ments, determine the feasibility of a particular set of real           time asset and/or company behavior based on various indica-
and/or potential attack vectors, identify higher-risk vulner-          tors and expressed as simple values, such as a number,
abilities that result from a combination of lower-risk vulner-         percentage, hash, etc. Each asset, in one or more embodi-
abilities exploited in a particular sequence, assess the magni-        ments, is associated with one or more profiles or other data
tude of potential business and operational impacts of                  structures ("profiles") that are associated with indicators that
successful attacks, test the ability of network defenders (e.g.,       define asset and/or company characteristics and are used by
security personal, firewalls, IDSs, etc.) to successfully detect       the technology as variables for calculating assessment value.
and respond to the cyber attacks, and provide evidence to              For example and as further described below, the technology
support increased investments in technology and insurance.             can determine that an asset (e.g., a server) has a risk assess-
Damage values are assigned to tangible (e.g., theft of credit          ment of 8 out of 10 (i.e., 0.8) based on various indicators in
card numbers) and/or intangible (e.g., reputation) losses asso-        that asset's profile, such as being a public server (i.e., a first
ciated with an occurrence of one or more cyber-attacks which           indicator) operating using an older operating system and/or
could successfully exploit an assets' software and/or hard-            other software products (i.e., a second indicator) that has
ware vulnerabilities.                                                  known vulnerabilities (i.e., a third indicator). That asset (e.g.,
[0036] For example, the technology can determine that an               the server described above) is also, in one or more embodi-
asset storing trade secrets and credit card information has a          ments, associated with a damage assessment, which is a mea-
higher economic damage value than a value associated with a            sure of a company's estimated loss of capital and/or intan-
redundant publically accessible webserver. Damage values               gible losses (e.g., loss due to an adverse effect to company
are, in various embodiments, adjusted based on various dam-            reputation) if the asset were compromised by a cyber-attack.
age indicators, such as the complexity and/or sophistication           Similar to the determination of the risk assessment, a damage
required to execute an exploit, availability of an exploit, a          assessment for the server mentioned above could be, for
likelihood of the occurrence a cyber-attack, and/or likelihood         example, 3 out of 10 (i.e., 0.3) because the server stores lower
of success of a cyber-attack. For example, an asset storing            valued webpages and, if compromised, would not negatively
trade secrets can have an increased damage value if the asset          affect the company's reputation. By determining respective
is vulnerable to, e.g., more than one exploit, less complex            snapshots associated with risk and damage, the technology
exploits, and/or widely known exploits. Based at least on a            can efficiently and quickly identify, in real-time, assets at
damage value associated with an asset, the technology, in              most risk of being compromised, associated losses and, in
some embodiments, is configured to dynamically determine               response, recommend insurance policies based on a compa-
an amount of insurance for sufficiently insuring against the           ny's unique circumstance and preferences. In some embodi-
occurrence of the cyber-attack. In various embodiments, the            ments, multiple risk assessments are combined into a single
technology automatically and periodically performs real-               meta-value that represents some or all of a company's assess-
time security audits to continuously or semi-continuously              ments (e.g., a company's subsidiaries, different departments,
reassess a company's vulnerability to new cyber threats and            or portions of a network).
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[0039] In some embodiments, a profile is referenced for                  exchange data, such as network and/or security data, with a
determining a company risk assessment, i.e., the level of risk           network 206 such as a LAN or the Internet, including web
associated with a specific company based on, for example,                sites, ftp sites, live feeds, and data repositories within a por-
various indicators such as an amount of capital the company              tion of the network 206. The user computers 202 may be
is willing to invest in cyber insurance, its risk tolerance, the         substantially similar to the computer described above with
number of assets to insure, existing security measures (e.g.,            respect to FIG. 1. The user computers 202 may be personal
an implemented network operating center (NOC), staff, and/               computers (PCs) or mobile devices, such as laptops, mobile
or disaster recovery protocols), whether the company is high             phones, or tablets. The user computers 202 may connect to the
profile, the company's business, any history of attacks and              network 206 wirelessly or through the use of a wired connec-
their success, etc. Company risk profiles are automatically              tion. Wireless connectivity may include any forms of wireless
and/or manually determined and, in various embodiments,                  technology, such as a radio access technology used in wire-
include a company's threshold tolerance for preventing and/              less LANs or mobile standards such as 2G/3G/4G/LTE. The
or insuring against a determined level of financial loss (e.g.,          user computers 202 may include other program components,
up to $2 million USD) as a result of the occurrence of the               such as a filter component, an operating system, one or more
cyber-attack on an asset.                                                application programs (e.g., security applications, word pro-
[0040] In one more embodiments, based on one or more                     cessing applications, spreadsheet applications, or Internet-
indicators of the asset risk profile, asset damage profile, and/         enabled applications), and the like. The user computers 202
or company risk profile, the technology determines one or                may be general-purpose devices that can be programmed to
more insurance policies/products specific to the company. In             run various types of applications, or they may be single-
various embodiments, the technology continuously, or on a                purpose devices optimized or limited to a particular function
schedule, updates the profiles based on changes to the assets            or class of functions. More importantly, any application pro-
or company (e.g., a new asset is added or an asset is recom-             gram for providing a graphical user interface to users may be
missioned, critical data is moved, new vulnerabilities are               employed, as described in detail below. For example, a
discovered, etc.). In response to the changes to one or more of          mobile application or "app" has been contemplated, such as
the profiles, the technology dynamically and automatically               one used in Apple's® iPhone® or iPad® products,
determines a new policy tailored to the changed profiles. This           Microsoft® products, Nokia® products, or Android®-based
feedback technique allows the company to efficiently and                 products.
comprehensively understand, in real time, where it has vul-              [0044] At least one server computer 208, coupled to the
nerabilities and how best to insure against losses.                      network 206, performs some or all of the functions for receiv-
[0041] Referring to FIG. 1, an exemplary embodiment of                   ing, routing, and storing of electronic messages, such as secu-
the described technology employs a computer 100, such as a               rity data, web pages, audio signals, electronic images, and/or
personal computer or workstation, having one or more pro-                other data. While the Internet is shown, a private network,
cessors 101 coupled to one or more user input devices 102 and            such as an intranet, may be preferred in some applications.
data storage devices 104. The computer 100 is also coupled to            The network may have a client-server architecture, in which
at least one output device such as a display device 106 and one          a computer is dedicated to serving other client computers, or
or more optional additional output devices 108 (e.g., printer,           it may have other architectures, such as a peer-to-peer, in
plotter, speakers, tactile or olfactory output devices, etc.). The       which one or more computers serve simultaneously as servers
computer 100 may be coupled to external computers, such as               and clients. A database or databases 210, coupled to the server
via an optional network connection 110, a wireless trans-                computer(s), store some content (e.g., security-related data)
ceiver 112, or both.                                                     exchanged between the user computers; however, content
[0042] The input devices 102 may include a keyboard, a                   may be stored in a flat or semi-structured file that is local to or
pointing device such as a mouse, and described technology                remote of the server computer 208. The server computer(s),
for receiving human voice, touch, and/or sight (e.g., a micro-           including the database(s), may employ security measures to
phone, a touch screen, and/or smart glasses). Other input                inhibit malicious attacks on the system and to preserve the
devices are possible such as a joystick, pen, game pad, scan-            integrity of the messages and data stored therein (e.g., firewall
ner, digital camera, video camera, and the like. The data                systems, secure socket layers (SSL), password protection
storage devices 104 may include any type of computer-read-               schemes, encryption, and the like).
able media that can store data accessible by the computer 100,           [0045] The server computer 208 may include a server
such as magnetic hard and floppy disk drives, optical disk               engine 212, a security management component 214, an insur-
drives, magnetic cassettes, tape drives, flash memory cards,             ance management component 216, and a database manage-
digital video disks (DVDs), Bernoulli cartridges, RAMs,                  ment component 218. The server engine 212 performs basic
ROMs, smart cards, etc. Indeed, any medium for storing or                processing and operating system level tasks. The security
transmitting computer-readable instructions and data may be              management component(s) 214 handle creation, streaming,
employed, including a connection port to or node on a net-               processing and/or routing of networking and/or security data.
work, such as a LAN, WAN, or the Internet (not shown in FIG.             Security management components 214, in various embodi-
1).                                                                      ments, includes other components and/or technology, such as
[0043] Aspects of the described technology may be prac-                  an asset risk component, asset damage component, company
ticed in a variety of other computing environments. For                  risk component and/or other components and/or assessment
example, referring to FIG. 2, a distributed computing envi-              technologies, described below. Users may access the server
ronment with a network interface includes one or more user               computer 208 by means of a network path associated there-
computers 202 (e.g., mobile devices, desktops, servers, etc.)            with. The insurance management component 216 handles
in a system 200, each of which can include a graphical user              processes and technologies that support the collection, man-
interface (GUI) program component (e.g., a thin client com-              aging, and publishing of insurance and/or cyber-related data
ponent) 204 that permits the user computer 202 to access and             and information, and other data. The database management
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component 218 includes storage and retrieval tasks with                  by a cyber attack. For example, Asset 304a, discussed above
respect to the database, queries to the database, and storage of         in reference to asset risk profile 302, includes various damage
data. In some embodiments, multiple server computers 208                 indicators 316 for determining, by the technology, a damage
each having one or more of the components 212-218 may be                 assessment 318, based on one or more predetermined algo-
utilized. In general, the user computer 202 receives data input          rithms. Damage indicators 316 include virtually any informa-
by the user and transmits such input data to the server com-             tion and any type of information that may affect a loss to a
puter 208. The server computer 208 then queries the database             company if the asset (e.g., Asset 304a) is compromised and
210, retrieves requested pages, performs computations and/or             can include, for example, a data type indicator representative
provides output data back to the user computer 202, typically            of the data being stored (e.g., credit cards, trade secrets or
for visual display to the user. Additionally, or alternatively,          webpages), hardware cost indicator (e.g., the cost of purchas-
the user computers 202 may automatically, and/or based on                ing new hardware), down time loss indicator, loss indicator
user computers' 202 settings/preferences, receive various                associated with company reputation (e.g., public and/or
information, such as alerts, updates, cyber security assess-             shareholders), etc. The damage assessment 318 is a snapshot
ments, cyber security programs, etc., from the server com-               of real-time damage to a company (e.g., tangible and intan-
puter 208.                                                               gible losses) if a particular asset (e.g., Asset A 304a) were to
[0046] FIG. 3A illustrates one example of an asset risk                  be compromised. In some embodiments, similar to the feed-
profile 302. An asset risk profile 302 includes various asset            back technique described for the asset risk profile 302, dam-
descriptions 304a-304n each having one or more indicators                age assessments 318 can be continuously or semi-continu-
306 for defining attributes which may affect that asset's risk           ously updated via new or continuing security assessments of
assessment 308 (e.g., whether the asset has a high, medium,              the company's network. In other words, as the network
or low risk rating). For example, Asset A 304a includes vari-            changes (e.g., an asset, such as Asset 304a, switches from
ous indicators 306, such as the physical location of the asset,          storing financial security information to storing publicly
software operating on the asset (e.g., a version of an operating         available emails address) a new damage assessment 308 is
system, such as a Windows 8®), known vulnerabilities (e.g.,              determined automatically and/or manually for that asset (e.g.,
a virus or rootkit active on the asset), unknown or future               Asset 304a).
vulnerabilities (e.g., a yet to be released exploit that is pro-         [0049] FIG. 3C illustrates one example of a company risk
grammed for the asset's operating system), etc. As an addi-              profile 322 for defining various company attributes and/or
tional example, an asset risk profile 302 may specify various            preferences, based on one or more various company indica-
risk indicators descriptive of the asset's hardware (e.g., an            tors 326. The technology, in one or more embodiments, ref-
Intel-based server, 1 Terabyte Western Digital hard drive,               erences a company's (e.g., Company A 324a, Company B
vendor-specific network interface card (NIC)), and/or soft-              324b, and/or Company n 324n) indicators 326 for determin-
ware/services (e.g., a command shell with super user privi-              ing a company's general risk, based on factors other than
leges)), etc. The technology can determine, at least based on            indicators 328, which are specific to a particular asset (e.g.,
one or more risk assessments 308 (e.g., a value determined via           Asset A 304a). For example, the technology determines a risk
the technology's implementation of a weighted-value-based                assessment 320 for the company based on various company
algorithm or other algorithm), a representative multiple of the          indicator's 326 unique to that company, such as the compa-
risk indicators 306. For example, the technology can deter-              ny's public exposure, profits, global reach, investments, line
mine that an asset with an old version of an operating system            (s) of business, number and sophistication of employees/
having known vulnerabilities running moderately easy to                  customers/clients, existing security measures implemented
hack NIC drivers has a high risk assessment value (e.g., 0.95)           by the company, total number of potentially exploitable
and a modern, recently updated asset has a lower risk assess-            assets, history of cyber attacks, etc. Other indicators, such as
ment value (e.g., 0.15).                                                 company's level of tolerance of a cyber attack and the com-
[0047] Risk indicators 306 can define virtually any type of              pany's capital investment commitment for insuring against
information that may affect an asset's exploitation and values           cyber-attacks are used by the technology in determining one
of risk indicators 306 are specific to an asset. In other words,         or more insurance policies/products tailored to the compa-
different assets, e.g., Asset B 304b and Asset n 304n, can have          ny's situation and preferences.
different indicators and/or types of indicators than the indi-           [0050] FIG. 4 illustrates one example of an engine 400 used
cators 306 associated with Asset A 304a. As mentioned                    by the technology to determine and/or recommend to a com-
above, risk indicators 306 are used by the technology, in one            pany one or more cyber insurance policies tailored to that
or more embodiments, to determine a risk assessment 308,                 company's asset, damage and/or company profiles. Engine
based on one or more predetermined algorithms. The risk                  400 includes various components 402-410, such as an asset
assessment 308 is a snapshot ofreal-time risk to an asset (e.g.,         risk profile component 402, an asset damage profile compo-
Asset A 304a) based on the indicators 306 that, in some                  nent 404, and a company risk profile component 406 and
embodiments, are being continuously or semi-continuously                 other optional component(s) 408 (e.g., other profiles, algo-
updated via new or continuing security assessments of the                rithms, analysis, feedback, etc.) for determining, by recom-
company's network. In other words, as assets change (e.g., an            mendation component 410, one or more cyber insurance
asset's operating system is updated) a new risk assessment               polices (e.g., a policy that includes cyber insurance Products
308 is automatically and/or manually determined.                         1 and 2). As referenced in the illustration for FIG. 4, the
[0048] FIG. 3B illustrates one example of an asset damage                technology determines and/or recommends one or more
profile 312 for an asset (e.g., Asset 304a). Asset damage                insurance policies and/or products based on features of one or
profile 312 is associated with damage indicators 316 for each            more of the asset risk profile 302 (e.g., a risk assessment 308
of a company's assets (e.g., Asset 304a-304n), which may                 and/or risk indicators 306), asset damage profile 312 (e.g.,
indicate a potential loss (i.e., a tangible or intangible loss) to       damage assessment 318 and/or damage indicators 316) and
a company if the asset (e.g., Asset 304a) were compromised               company risk profile 322 (e.g., company risk assessment 328
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and/or company indicators 326). Based on the one or more                  embodiments, defines indicators in the customer risk profile
features of components 402-408, the technology determines                 322. If there are additional profiles and/or indicators then, at
and/or recommends cyber insurance policies/products by, for               510, the flow returns to 504, 506, and/or 508. Otherwise, the
example, referencing a database or other data storing insur-              flow continues to 512 where the technology determines and/
ance information (e.g., premium, coverage amounts/percent-                or recommends one or more cyber insurance policies/prod-
ages, terms, etc.) and calculating, via the recommendation                ucts for insuring against the possibility of a cyber-attack,
component 410, preferred policies/products for the compa-                 based on the results of operations at 504-508. At 514, if there
ny's specific requirements and preferences.                               has been a change to the assets and/or customer preferences,
[0051] One aspect of the disclosed technology relates to a                the flow returns to 504, 506, and/or 508. Otherwise, the flow
computer-implemented cyber attack assessment method that                  ends at 516. Further description, embodiments and/or imple-
includes identifying one or more software vulnerabilities for             mentations of policies, indicators, and assessments may be
exploiting resources on one or more computing devices,                    found in reference to one or more of the remaining figures.
assigning a damage value associated with tangible and intan-              [0055] FIG. 6 illustrates a flow diagram 600 of communi-
gible losses for an occurrence of one or more cyber attacks               cations between a customer/company ("customer") and an
exploiting the one or more software vulnerabilities, and                  insurance company in accordance with an exemplary
dynamically determining an amount of insurance for suffi-                 embodiment. At 601, a customer provides a customer profile
ciently insuring against the occurrence of the one or more                to the insurance company. At 603, the customer provides an
cyber attacks exploiting the one or more software vulnerabili-            asset profile to the insurance company. At 605, the customer
ties, wherein the amount of insurance is at least based on the            pays the premium to the insurance company to buy a policy.
damage value. In some embodiments, such a method further                  At 607, the customer reports certain damages to the insurance
includes periodically determining a new amount of insurance               company. At 609, the insurance company pays the customer a
based on identifying one or more new software vulnerabilities             damage compensation based on the policy that was purchased
for exploiting resources on the one or more computing                     as part of operation 605. The insurance company may per-
devices.                                                                  form some verification and damage assessment before paying
[0052] In another aspect of the technology, a computer-                   such damage compensation at 609.
readable storage device stores instructions that, upon execu-             [0056] The complexity of the computer related security
tion by a processor of a computing system, cause the com-                 threats makes it hard for small companies to have the most
puting system to perform a method for insuring against cyber              updated information and the skills needed to cope with the
attacks within a network. The method includes determining                 ongoing and increasing threats faced every day in the world.
an asset profile for a target asset, and assigning a risk rating to       Computer security personal are highly skilled, hard to find,
the target asset, wherein the risk rating is a measure of: (a)            and highly paid. Therefore it is unrealistic for small compa-
vulnerability of the target asset to a present or future cyber            nies to be able to maintain the most up to up-to-date defenses
attack and (b) a cost associated with an occurrence of the                against the ever increasing attacks on computer assets. The
cyber attack on the target asset. Such a method further                   insurance company, on the other hand, has to hire the highly
includes identifying a customer risk profile associated with              skilled computer security personal to perform the security
preventing the occurrence of the cyber attack on the target               analysis, to keep updated with the most recent attacks with
asset, and dynamically determining one or more financial                  new methods. Therefore the insurance company can play a
instruments for insuring against the occurrence of the cyber              preventive role on behalf of many small companies by sharing
attacked on the target asset, based at least on the risk rating           the computer security expertise, developing defense guide-
and the customer risk profile.                                            lines, and distributing such defense guidelines and strategies
[0053] In some embodiments, the asset profile includes                    among the insured companies. In this way, the insurance
characteristics descriptive of software products and data                 company can bear, or share with the small companies, the
installed on the target asset. In some embodiments, the cus-              costs associated with combatting computer security threats
tomer risk profile includes a threshold tolerance for prevent-            while providing better defenses against new attacks.
ing a determined level of financial loss as a result of the               [0057] Referring again to FIG. 6, at 611, the insurance
occurrence of the cyber attack on the target asset. In some               company may distribute preventive information to the cus-
embodiments, the one or more financial instruments insure                 tomer so that the customer can be aware of the most recent
against the occurrence of the cyber attack based on the deter-            attacks and the associated techniques for defending against
mined level of financial loss. In some embodiments, the above             such attacks. At 613, the customer provides feedback based
noted method further includes dynamically and periodically                on the preventive information received from the insurance
determining one or more new vulnerabilities and, in response              company, where the feedback may include the status report of
to determining the one or more new vulnerabilities, assigning             the implementation results related to the preventive informa-
a new risk rating and determining one or more new financial               tion distributed by the insurance company.
instruments for insuring against an occurrence of a new cyber             [0058] One aspect of the disclosed technology relates to
attack based on the one or more new vulnerabilities.                      determination of insurability of a product or service based on
[0054] FIG. 5 illustrates a flow diagram 500 for determin-                real-time cyber activity, which can lead to a determination of
ing a company's risk of a cyber attack and recommending a                 an insurance premium for the product or service. The insur-
cyber insurance policy based on the determined risk. The flow             ability rating provides a measure as to insurability of the
starts at 502 and, at 504, the technology determines (e.g., via           product or service. Examples of products or services include
a security assessment) a network's vulnerability to cyber-                consumer data (e.g., credit card information, personal infor-
attacks and stores results of the assessment in a assets risk             mation) that is stored on a network-accessible storage unit,
profile 302. At 506, the technology determines one or more                cloud computing resources that are provided to paying cus-
asset damage profiles 312 for each of the one or more assets              tomers, social media services, financial information, financial
defined in the asset risk profile 302 and, at 508, in some                services, and others. In the context of the disclosed examples,
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a high insurability rating is commensurate with having a                  on changes in the real-time data with a time granularity of 1
product or service that is easily insurable (e.g., there is a lower       micro second or less. Thus, through, for example, monitoring
risk of damage to the product or service), whereas a low                  world-wide attacks on particular assets or organizations, the
insurability indicates that there is a higher risk of damage to           damage assessment can be updated almost instantaneously to
the product or service. It is however, understood that such an            allow certain mitigating actions to be triggered. A number or
inverse correlation between the insurability rating and dam-              a range of numbers can represent the damage assessment. For
age risk is merely provided for the sake of illustration, and             instance, in one implementation, the damage assessment is a
other relationships (e.g., direct correlation) can also be used.          number between 0 and 100, whereas in another implementa-
The insurability rating can be a number or a range of numbers.            tion, the damage assessment is represented by a set of three
For instance, in one implementation, the insurability rating is           numbers indicative of high (e.g., ratings in range 80 to 100),
a number between 0 and 100, whereas in another implemen-                  medium (e.g., ratings in range 60 to 79) and low (e.g., ratings
tation, the insurability rating is represented by high (e.g.,             in range 0 to 59) values of the real-time damage assessment.
ratings in range 80 to 100), medium (e.g., ratings in range 60            [0063] In one implementation, the real-time damage
to 79) and low (e.g., ratings in range 0 to 59).                          assessment is computed by an algorithm that uses a weighted
[0059] FIG. 7 illustrates a set of operations 700 that can be             average technique. This technique assigns a first weight to an
carried out to determine insurability rating for a product or a           indicator representative of a likelihood of the occurrence of
service in accordance with an exemplary embodiment. The                   the one or more cyber attacks, assigns a second weight to an
operations 700 can be implemented using a computing sys-                  indicator representative of a the likelihood of success of the
tem with network connectivity. Such a computing system                    one or more cyber attacks, and a third weight to an indicator
includes a processor (e.g., a hardware implemented processor              representative of the measure of severity of damage to the
comprising electronic circuitry), memory, physical buses and              product of service. The weights can be indicative of the
interfaces that allows different components of the system to              importance of each of the associated indicators of likelihood
communicate with one another and with other devices that are              and/or measure. Further, each of the likelihood of the occur-
connected to the computing device through a network. Refer-               rence of the one or more cyber attacks, the likelihood of
ring to FIG. 7, at 702, real-time data indicative of cyber                success of the one or more cyber attacks, and the measure of
attacks that are likely to diminish a value of the product or             severity of damage to the product of service can be deter-
service is received at a processor that is implemented at least           mined using historical information associated with previ-
in-part by electronic circuitry and coupled to a computer                 ously launched cyber attacks against the products or the ser-
network. At 704, the real-time data is processed to compute a             vice.
real-time damage assessment associated with losses to the                 [0064] The historical information is typically obtained
product or service in the event of one or more cyber attacks.             based on attacks, damages and success rates of previous cyber
The real-time damage assessment can be computed using at                  attacks. For example, the historical information can include a
least a likelihood of occurrence of the one or more cyber                 number of previous cyber attacks against the product or ser-
attacks, a likelihood of success of the one or more cyber                 vice, a rate of success of previous cyber attacks against the
attacks, and a measure of severity of damage to the product of            product or service, an amount of damage to the service or
service as a result of the occurrence of the one or more cyber            product caused by the previous cyber attack(s), or a frequency
attacks. For example, a higher likelihood of cyber attack, a              of occurrence of cyber attacks against other entities that offer
higher likelihood of the success of the cyber attack, and a               products or services that are similar to the product and ser-
higher severity measure of damage caused by such cyber                    vice. In one example, the damage caused by breach of finan-
attacks, each contribute to a higher computed real-time dam-              cial data at one financial instruction is used to produce a
age assessment.                                                           measure of damage for another financial institution. The dis-
[0060] Referring again to FIG. 7, at 706, an insurability                 closed technology enables the likelihood of a cyber attack to
rating for the product or service is determined. Such an insur-           be produced by analyzing the patterns of cyber activity over a
ability rating can be used to determine an amount of insurance            large number of data networks, which can all be carried out in
that sufficiently insures against the occurrence of the one or            real-time as those evolve over time.
more cyber attacks. The insurability rating is determined at              [0065] The damage assessment can be used to compute the
least in-part based on the real-time damage assessment and is             insurability rating. In one example, computation of the insur-
changeable in response to changes in the received real-time               ability rating includes processing the real-time damage
data.                                                                     assessment over a pre-determined time interval and then
[0061] The insurability rating can be used to produce an                  determining a statistical value associated with several of the
insurance premium value for the product or service. Such an               insurability rating values over that pre-determined time inter-
insurance premium can also be affected by other factors, such             val. An example of the statistical value is an average of several
as the length of relationship between the insurer and the                 insurability rating values over the pre-determined time inter-
organization or person that is seeking insurance (the                     val. In one variation, the statistical value is a weighted average
"insured"), the insurance premiums offered by other insurers,             of the plurality of insurability rating values over the pre-
existence of other insurance polices for the product or service,          determined time interval. In this scenario, the weights can be
discounts based on the number of other products or services               assigned or determined using different techniques that would
that are insured by the same insurer, and other factors.                  allow easy adaptation and correlation to the changes in the
[0062] One of the advantages of the disclosed technology                  real-time data. For example, in computing the average value,
relates to the use of real-time data that allows dynamic and              insurability rating values that correspond to later time
up-to-date computation of the damage assessment based on                  instances within the predetermined time interval are given a
cyber activities that are being continuously monitored. For               larger weight compared to the insurability rating values that
instance, in one exemplary implementation, the real-time                  correspond to earlier time instances within the predetermined
damage assessment is computed on an on-going basis based                  time interval.
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[0066] The choice of the pre-determined time interval is                  they may comprise the proper transmitter/receiver, antennas,
often left to the designer of the system and can be based on              circuitry and ports, as well as the encoding/decoding capa-
system capabilities and recourses, observed time-dependence               bilities that may be necessary for proper transmission and/or
of cyber activity patterns, importance of the product or ser-             reception of data and other information.
vice, and other factors. For example, the time interval can be            [0070] The device 800 in FIG. 8 also includes a processor
set to be one hour, one day, one week or one month. The                   812 and memory 810 that are in communication with each
pre-determined time interval can also be set to an initial value,         other and with other components of the device through, for
and can then be changed based on changes in the system                    example, busses, optical interconnects, wireless connections
resources, cyber activity patterns, customer requests, or other           or other means of connectivity that allow the exchange of data
factors. It should be noted that in some instances it might be            and control signals. The processor 812 can, for example, be a
beneficial to compute more than one insurability rating so as             microprocessor, a controller or other processing device that is
to ascertain a trend in insurability rating over time, or for other       known in the art. The memory 810 can be used to permanently
reasons that facilitate the determination of the proper pre-              or temporarily (e.g., as in a buffer) store data, program code,
mium. For example, both a short-term and a long-term insur-               parameters or other information that can be used to configure
ability rating can be computed, with the short-term insurabil-            and/or operate the device 800 or the components therein. The
ity rating spanning a time period in the range of, e.g., one hour         device 800 also includes a damage assessment computation
to one day, and the long-term insurability corresponding to a             component 806, which is coupled to the input port 802 and is
time period that is, e.g., greater than one day and up to one             configured to receive data on an on-going basis (e.g., real-
month.                                                                    time data indicative of cyber activity) and compute a real-time
[0067] In some implementations, the insurability rating is                damage assessment associated with losses to the product or
determined based in-part on the existing cybersecurity coun-              service in the event of one or more cyber attacks.
termeasures that are being deployed to protect computers,                 [0071] The damage assessment computation component
networks or storage units that participate in storage, produc-            806 can include sub-components (not shown) that parse the
tion or distribution of the product or service. Examples of               data received from the input port 802 or other device compo-
such cyber security countermeasures include firewalls, anti-              nents, and route the appropriate data to other subcomponents
virus software, system alerts, fail-safe measures that, for               (not shown) of the damage assessment computation compo-
example, limit the amount of loss to the product or service               nent 806. For example, a routing subcomponent (not shown)
(e.g., cash withdrawal limits), biometric authorization pro-              can sift the incoming data to identify and route the following
tections and others administrative or physical security mea-              types of data to an aggregation subcomponent: data indicative
sures. In some implementations, the insurability rating is                of a likelihood of the occurrence of the one or more cyber
modified dynamically based on changes in cybersecurity                    attacks, data a likelihood of success of the one or more cyber
countermeasures that are deployed to protect the assets. For              attacks, and data indicative of a measure of severity of dam-
example, upon a detection that deployed anti-virus software               age to the product of service as a result of the occurrence of
has expired or has become outdated, the insurability rating               the one or more cyber attacks. The damage assessment com-
can correspondingly change to reflect a higher risk to the                putation component 806 can also include one or more sub-
asset.                                                                    components (e.g., an aggregation subcomponent) that are
[0068] As noted in connection with operation 611 of FIG.                  configured to assign weights, compute averages, and modify
6, certain information and/or cyber security countermeasures              data to determine a damage assessment value or values.
can be shared with an insured party upon a determination that             [0072] The device 800 also includes an insurability rating
indicates an elevated cyber security risk. For example, one or            computation component 808 that is coupled to the damage
more of the following can be shared with an entity that is                assessment computation component 806 and is configured to
interested in obtaining or maintaining insurance coverage for             receive a damage assessment value or values and to determine
the product or service: information regarding the real-time               an insurability rating for the product or service that is usable
damage, information regarding the likelihood of the occur-                for determination of an amount of insurance that sufficiently
rence of the one or more cyber attacks, information regarding             insures against the occurrence of the one or more cyber
the likelihood of success of the one or more cyber attacks,               attacks. The insurability rating computation component 808
information regarding the measure of severity of damage to                is configured to receive the damage assessment values on a
the product of service as a result of the occurrence of the one           real-time basis and use them to produce and update insurabil-
or more cyber attacks, a recommendation for obtaining addi-               ity ratings in response to changes in the real-time data. The
tional cybersecurity countermeasures, or a particular cyber-              insurability rating computation component 808 can also
security countermeasure.                                                  include subcomponent (not shown) that are configured to
[0069] FIG. 8 illustrates some of the components of a                     assign weights, compute averages, and modify data to deter-
device 800 that can operate to produce an insurability rating             mine the insurability rating. The insurability ratings can be
in accordance with an exemplary embodiment. The device                    communicated to outside components (not shown) using the
800 includes an input port 802 and an output port 804 that                output port 804. Examples of those outside components
allow the device 800 to receive/send data, commands or other              include a monitor, a storage device (e.g., RAM, Optical or
signal from/to an outside entity. For example, the input port             Magnetic disks, etc.), a printer and a networked computing
802 or the output port 804 can be a serial port, parallel port, a         device.
USB port, a wireless connectivity port, an Ethernet port, or              [0073] It should be noted that to avoid clutter, FIG. 8 might
other types of input/output ports that are known in the art. In           not show all of the components of the device 800, or all
some implementations, the input port 802 and output port 804              connections between the device components. For example, in
may be part of communication component that provide wired                 instances where data compression is used to reduce the stor-
and/or wireless communication capabilities in accordance                  age and transmission bandwidth of data that is received and
with one or more communication protocols, and therefore                   processed by device 800, the device 800 may include com-
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ponents that are configures to decompress and decompress                 information, directly or indirectly, through the communica-
the data based on the specific compression/decompression                 tion link 908 with other entities, devices, databases and net-
algorithms (e.g., LZV, Run Length Encoding, PKZip, etc.).                works. The communication unit 906 may provide wired and/
Similarly, in instances where data encryption is used to ensure          or wireless communication capabilities in accordance with
the security of data (e.g., for the external data received by the        one or more communication protocols, and therefore it may
device 800, data transmitted by the device 800 to outside                comprise the proper transmitter/receiver, antennas, circuitry
devices, or data stored in memory 810), the device 800 may               and ports, as well as the encoding/decoding capabilities that
include components that are configured to encrypt and                    may be necessary for proper transmission and/or reception of
decrypt the data based on specific algorithms (e.g., DES,                data and other information. The exemplary device 900 of FIG.
3DES, AES, RSA, etc.). In some embodiments, the processor                9 may be integrated as part of any devices or components to
812 can execute program code that is stored memory (e.g., in             perform any of the disclosed methods.
a portion of memory 810) to carry out certain operations, such           [0077] Various embodiments described herein are
as data compression/decompression or data encryption/de-                 described in the general context of methods or processes,
cryption.                                                                which may be implemented in one embodiment by a com-
[0074] The device 800 that is depicted in FIG. 8 is one                  puter program product, embodied in a computer-readable
example device that can be configured for generating insur-              medium, including computer-executable instructions, such as
ability ratings for a product or service. Such a device includes         program code, executed by computers in networked environ-
a first input port coupled to a network communication channel            ments. A computer-readable medium may include removable
to receive real-time data indicative of cyber attacks that are           and non-removable storage devices including, but not limited
likely to diminish a value of the product or service. The device         to, Read Only Memory (ROM), Random Access Memory
also includes a damage assessment computation component                  (RAM), compact discs (CDs), digital versatile discs (DVD),
that is implemented at least in-part using electronic circuits.          Blu-ray Discs, etc. Therefore, the computer-readable media
The damage assessment computation component is coupled                   described in the present application include non-transitory
to the first input port to receive the real-time data and compute        storage media. Generally, program modules may include rou-
a real-time damage assessment measure associated with                    tines, programs, objects, components, data structures, etc.
losses to the product or service due to occurrence of one or             that perform particular tasks or implement particular abstract
more cyber-attacks. The damage assessment is computed                    data types. Computer-executable instructions, associated
using at least a likelihood of occurrence of the one or more             data structures, and program modules represent examples of
cyber attacks, a likelihood of success of the one or more cyber          program code for executing steps of the methods disclosed
attacks, and a measure of severity of damage to the product of           herein. The particular sequence of such executable instruc-
service as a result of the occurrence of the one or more cyber           tions or associated data structures represents examples of
attack. The device also includes an insurability rating com-             corresponding acts for implementing the functions described
putation component that is implemented at least in-part using            in such steps or processes.
electronic circuits and coupled to the damage assessment                 [0078] While this document contains many specifics, these
computation component. The insurability rating computation               should not be construed as limitations on the scope of an
component is configured to receive the real-time damage                  invention that is claimed or of what may be claimed, but rather
indictor computed by the damage assessment computation                   as descriptions of features specific to particular embodi-
component and to determine an insurability rating for the                ments. Certain features that are described in this document in
product or service that is usable for determination of an                the context of separate embodiments can also be imple-
amount of insurance that sufficiently insures against the                mented in combination in a single embodiment. Conversely,
occurrence of the one or more cyber attacks. The insurability            various features that are described in the context of a single
rating is determined at least in-part based on the real-time             embodiment can also be implemented in multiple embodi-
damage assessment and is changeable in response to changes               ments separately or in any suitable sub-combination. More-
in the received real-time data.                                          over, although features may be described above as acting in
[0075] The components or modules that are described in                   certain combinations and even initially claimed as such, one
connection with the disclosed embodiments can be imple-                  or more features from a claimed combination can in some
mented as hardware, software, or combinations thereof. For               cases be excised from the combination, and the claimed com-
example, a hardware implementation can include discrete                  bination may be directed to a sub-combination or a variation
analog and/or digital circuits that are, for example, integrated         of a sub-combination. Similarly, while operations are
as part of a printed circuit board. Alternatively, or addition-          depicted in the drawings in a particular order, this should not
ally, the disclosed components or modules can be imple-                  be understood as requiring that such operations be performed
mented as an Application Specific Integrated Circuit (ASIC)              in the particular order shown or in sequential order, or that all
and/or as a Field Programmable Gate Array (FPGA) device.                 illustrated operations be performed, to achieve desirable
Some implementations may additionally or alternatively                   results.
include a digital signal processor (DSP) that is a specialized              What is claimed is:
microprocessor with an architecture optimized for the opera-                1. A computer program product, embodied on one or more
tional needs of digital signal processing associated with the            non-transitory computer media, comprising:
disclosed functionalities of this application.                              program code for receiving real-time data from a computer
[0076] FIG. 9 illustrates a block diagram of a device 900                      network at a processor that is implemented at least in-
that can be implemented as part of the disclosed devices and                   part by electronic circuitry, the real-time data indicative
systems. The device 900 comprises at least one processor 904                   of cyber attacks that are likely to diminish a value of the
and/or controller, at least one memory 902 unit that is in                     product or service;
communication with the processor 904, and at least one com-                 program code for processing by the processor the real-time
munication unit 906 that enables the exchange of data and                      data to compute real-time damage assessment associ-
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      ated with losses to the product or service due to occur-            attacks, and the measure of severity of damage to the product
      rence of one or more cyber-attacks, the damage assess-              of service is determined using historical information associ-
      ment computed using at least a likelihood of occurrence             ated with previously launched cyber attacks against the prod-
      of the one or more cyber attacks, a likelihood of success           uct or the service.
      of the one or more cyber attacks, and a measure of                     12. The computer program product of claim 11, wherein
      severity of damage to the product of service as a result of         the historical information includes one or more of: a number
      the occurrence of the one or more cyber attacks; and                of previous cyber attacks against the product or service, a rate
   program code for determining by the processor an insur-                of success of previous cyber attacks against the product or
      ability rating for the product or service that is usable for        service, an amount of damage to the service or product caused
      determination of an amount of insurance that suffi-                 by a previous cyber attack, or a frequency of occurrence of
      ciently insures against the occurrence of the one or more           cyber attacks against other entities that offer products or
      cyber attacks, wherein the insurability rating is deter-            services that are similar to the product and service.
      mined at least in-part based on the real-time damage                   13. The computer program product of claim 1, wherein the
      assessment and is changeable in response to changes in              likelihood of occurrence of the one or more cyber attacks is
      the received real-time data.                                        produced by analyzing data associated with patterns of cyber
   2. The computer program product of claim 1, further com-               activity over a plurality of data networks in real-time.
prising program code for producing an insurance premium                      14. The computer program product of claim 13, wherein
value for the product or service using the insurability rating.           the patterns of cyber activity include indications of cyber
   3. The computer program product of claim 1, wherein the                attacks on organizations with network connectivity.
real-time damage assessment is computed on an on-going                       15. The computer program product of claim 1, wherein the
basis based on changes in the real-time data with a time                  insurability rating is determined using an inverse proportion-
granularity of 1 micro second or less.                                    ality relationship with respect to the real-time damage assess-
   4. The computer program product of claim 1, wherein the                ment.
insurability rating is produced at least in-part by:                         16. The computer program product of claim 1, wherein the
   processing the real-time damage assessment over a pre-                 insurability rating is determined based in-part on existing
      determined time interval and determining a statistical              cybersecurity countermeasures that are deployed to protect
      value associated with a plurality of insurability rating            computers, networks or storage units that participate in stor-
      values over the pre-determined time interval.                       age, production or distribution of the product or service.
   5. The computer program product of claim 4, wherein the                   17. The computer program product of claim 16, wherein
statistical value is an average of the plurality of insurability          the insurability rating is modified based on changes in the
rating values over the pre-determined time interval.                      cybersecurity countermeasures deployed to protect comput-
   6. The computer program product of claim 4, wherein the                ers, networks or storage units that participate in storage, pro-
statistical value is a weighted average of the plurality of               duction or distribution of the product or service.
insurability rating values over the pre-determined time inter-               18. The computer program product of claim 1, further
val, and wherein an insurability rating value that corresponds            comprising program code using the computer network for
to a later time instance within the predetermined time interval           providing one or more of the following to an entity for obtain-
is assigned a larger weight compared to an insurability rating            ing or maintaining insurance coverage for the product or
value that corresponds to an earlier time instance within the             service:
predetermined time interval.                                                 information regarding the real-time damage,
   7. The computer program product of claim 4, wherein the                   information regarding the likelihood of occurrence of the
pre-determined time interval is one of: one hour, one day, one                  one or more cyber attacks,
week or one month.                                                           information regarding the likelihood of success of the one
   8. The computer program product of claim 1, further com-                     or more cyber attacks,
prising program code for determining at least one additional                 information regarding the measure of severity of damage to
insurability rating based on the real-time data, wherein one of                 the product of service as a result of the occurrence of the
the insurability rating or the additional insurability rating                   one or more cyber attacks,
corresponds to a short-term insurability rating, and the other               a recommendation for obtaining additional cybersecurity
of the insurability rating or the additional insurability rating                countermeasures, or
corresponds to a long-term insurability rating.                              a particular cybersecurity countermeasure.
   9. The computer program product of claim 8, wherein the                   19. A method for producing insurability ratings for a prod-
short-term insurability rating corresponds to a time period               uct or service, the method comprising:
ranging from one hour to one day, and wherein the long-term                  receiving, at a processor that is implemented at least in-part
insurability rating corresponds to a time period that is greater                by electronic circuitry and coupled to a computer net-
than one day and up to one month.                                               work, real-time data indicative of cyber attacks that are
   10. The computer program product of claim 1, wherein the                     likely to diminish a value of the product or service;
real-time damage assessment is computed using a weighted                     using the processor to process the real-time data to com-
average technique that assigns a first weight to the likelihood                 pute a real-time damage assessment associated with
of occurrence of the one or more cyber attacks, a second                        losses to the product or service due to occurrence of one
weight to the likelihood of success of the one or more cyber                    or more cyber-attacks, the damage assessment com-
attacks, and a third weight to the measure of severity of                       puted using at least a likelihood of the occurrence of the
damage to the product of service.                                               one or more cyber attacks, a likelihood of success of the
   11. The computer program product of claim 1, wherein                         one or more cyber attacks, and a measure of severity of
each of the likelihood of occurrence of the one or more cyber                   damage to the product of service as a result of the occur-
attacks, the likelihood of success of the one or more cyber                     rence of the one or more cyber attacks; and
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   using the processor to determine an insurability rating for            previous cyber attack, or a frequency of occurrence of cyber
      the product or service that is usable for determination of          attacks against other entities that offer products or services
      an amount of insurance that sufficiently insures against            that are similar to the product and service.
      the occurrence of the one or more cyber attacks, wherein               31. The method of claim 19, wherein the likelihood of
      the insurability rating is determined at least in-part based        occurrence of the one or more cyber attacks is produced by
      on the real-time damage assessment and is changeable in             analyzing data associated with patterns of cyber activity over
      response to changes in the received real-time data.                 a plurality of data networks in real-time.
   20. The method of claim 19, further comprising using the                  32. The method of claim 31, wherein the patterns of cyber
insurability rating to produce an insurance premium value for             activity are indicative of cyber attacks on other organizations
the product or service.                                                   with network connectivity.
   21. The method of claim 19, wherein the real-time damage                  33. The method of claim 19, wherein the insurability rating
assessment is computed on an on-going basis based on                      is determined using an inverse proportionality relationship
changes in the real-time data with a time granularity of 1                with respect to the real-time damage assessment.
micro second or less.                                                        34. The method of claim 19, wherein the insurability rating
   22. The method of claim 19, wherein the insurability rating            is determined based in-part on existing cybersecurity coun-
is produced at least in-part by:                                          termeasures that are deployed to protect computers, networks
   processing the real-time damage assessment over a pre-                 or storage units that participate in storage, production or
      determined time interval and determining a statistical              distribution of the product or service.
      value associated with a plurality of insurability rating               35. The method of claim 34, wherein the insurability rating
      values over the pre-determined time interval.                       is modified based on changes in the cybersecurity counter-
   23. The method of claim 22, wherein the statistical value is           measures deployed to protect computers, networks or storage
an average of the plurality of insurability rating values over            units that participate in storage, production or distribution of
the pre-determined time interval.                                         the product or service.
   24. The method of claim 22, wherein the statistical value is              36. The method of claim 19, further comprising providing
a weighted average of the plurality of insurability rating val-           one or more of the following to an entity that is interested in
ues over the pre-determined time interval, and wherein insur-             obtaining or maintaining insurance coverage for the product
ability rating values that correspond to later time instances             or service:
within the predetermined time interval are assigned a larger                 information regarding the real-time damage,
weight compared to insurability rating values that correspond                information regarding the likelihood of occurrence of the
to earlier time instances within the predetermined time inter-                  one or more cyber attacks,
val.                                                                         information regarding the likelihood of success of the one
   25. The method of claim 22, wherein the pre-determined                       or more cyber attacks,
time interval is one of: one hour, one day, one week or one                  information regarding the measure of severity of damage to
month.                                                                          the product of service as a result of the occurrence of the
   26. The method of claim 19, further comprising determin-                     one or more cyber attacks,
ing at least one additional insurability rating based on the                 a recommendation for obtaining additional cybersecurity
real-time data, wherein one of the insurability rating or the                   countermeasures, or
additional insurability rating corresponds to a short-term
                                                                             a particular cybersecurity countermeasure.
insurability rating, and the other of the insurability rating or
the additional insurability rating corresponds to a long-term                37. A device, comprising:
insurability rating.                                                         a processor implemented using electronic circuitry; and
   27. The method of claim 26, wherein the short-term insur-                 a memory comprising processor executable code, the pro-
ability rating corresponds to a time period ranging from one                    cessor executable code, when executed by the processor,
hour to one day, and wherein the long-term insurability rating                  causes the device or the components of the device to:
corresponds to a time period that is greater than one day and                receive real-time data indicative of cyber attacks that are
up to one month.                                                                likely to diminish a value of the product or service;
   28. The method of claim 19, wherein the real-time damage                  process the real-time data to compute a real-time damage
assessment is computed using a weighted average technique                       assessment associated with losses to the product or ser-
that assigns a first weight to the likelihood of occurrence of                  vice due to occurrence of one or more cyber-attacks, the
the one or more cyber attacks, a second weight to the likeli-                   damage assessment computed using at least a likelihood
hood of success of the one or more cyber attacks, and a third                   of occurrence of one or more cyber attacks, a likelihood
weight to the measure of severity of damage to the product of                   of success of the one or more cyber attacks, and a mea-
service.                                                                        sure of severity of damage to the product of service as a
   29. The method of claim 19, wherein each of the likelihood                   result of the occurrence of the one or more cyber attacks;
of occurrence of the one or more cyber attacks, the likelihood                  and
of success of the one or more cyber attacks, and the measure                 determine an insurability rating for the product or service
of severity of damage to the product of service is determined                   that is usable for determination of an amount of insur-
using historical information associated with previously                         ance that sufficiently insures against the occurrence of
launched cyber attacks against the product or the service.                      the one or more cyber attacks, wherein the insurability
   30. The method of claim 29, wherein the historical infor-                    rating is determined at least in-part based on the real-
mation includes one or more of: a number of previous cyber                      time damage assessment and is changeable in response
attacks against the product or service, a rate of success of                    to changes in the received real-time data.
previous cyber attacks against the product or service, an                    38. A device for generating insurability ratings for a prod-
amount of damage to the service or product caused by a                    uct or service, comprising:
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 a first input port coupled to a network communication                 39. A system for determining insurability rating of a ser-
   channel to receive real-time data indicative of cyber             vice or product, comprising:
   attacks that are likely to diminish a value of the product          a server device coupled to a computer network to receive
   or service;                                                            real-time data indicative of cyber attacks that are likely
 a damage assessment computation component that is                        to diminish a value of the product or service and to
   implemented at least in-part using electronic circuits,                produce an insurance premium estimate based at least
   the damage assessment computation component                            in-part on the received real-time data;
   coupled to the first input port to receive the real-time
   data and compute a real-time damage assessment mea-                 a client device coupled the computer network to receive the
   sure associated with losses to the product or service due              insurance premium estimate produced by the server
   to occurrence of one or more cyber-attacks, the damage                 device, wherein:
   assessment computed using at least a likelihood of                    the server device uses the real-time data to compute a
   occurrence of the one or more cyber attacks, a likelihood               real-time damage assessment associated with losses
   of success of the one or more cyber attacks, and a mea-                 to the product or service due to occurrence of one or
   sure of severity of damage to the product of service as a               more cyber-attacks, the damage assessment com-
   result of the occurrence of the one or more cyber attack;               puted using at least a likelihood of occurrence of the
   and                                                                     one or more cyber attacks, a likelihood of success of
 an insurability rating computation component that is                      the one or more cyber attacks, and a measure of sever-
   implemented at least in-part using electronic circuits and              ity of damage to the product of service as a result of
   coupled to the damage assessment computation compo-                     the occurrence of the one or more cyber attacks, and
   nent, the insurability rating computation component to
   receive the real-time damage indictor computed by the                 the sever device determines an insurability rating for the
   damage assessment computation component and to                          product or service that is usable for determination of
   determine an insurability rating for the product or ser-                an amount of insurance that sufficiently insures
   vice that is usable for determination of an amount of                   against the occurrence of the one or more cyber
   insurance that sufficiently insures against the occurrence              attacks, the insurability rating determined at least in-
   of the one or more cyber attacks, wherein the insurability              part based on the real-time damage assessment and is
   rating is determined at least in-part based on the real-                changeable in response to changes in the received
   time damage assessment and is changeable in response                    real-time data.
   to changes in the received real-time data.
